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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


ANGELA ZORICH,                              )
                                            )
               Plaintiff,                   )
                                            )      Case No. 4:17-cv-01522-PLC
v.                                          )
                                            )
St. Louis County, et al.,                   )
                                            )
               Defendants.                  )


                MOTION FOR LEAVE TO FILE EXHIBITS UNDER SEAL

       COMES NOW Plaintiff, Angela Zorich, by and through counsel, and hereby requests

leave to file Exhibits 21 and 55 of Plaintiff’s Opposition to Defendants’ Motion for Summary

Judgment under seal. These documents contain confidential information that should not be

public knowledge.

       WHEREFORE, for good cause shown, Plaintiff prays that this Court grant Plaintiff’s

Motion for Leave to File Exhibits 21 and 55 under seal.

                                                Respectfully submitted,

                                                DOBSON, GOLDBERG, BERNS & RICH, LLP


                                                By: /s/Nicole A. Matlock
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                                                      Attorneys for Plaintiff

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 30th day of August, 2018 a copy of the
foregoing was delivered via the court’s electronic mail system to Priscilla F. Gunn
pgunn@stlouisco.com.

                                                    /s/ Nicole A. Matlock
